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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 23-cr-239-2 (CKK)
                                             :
HEATHER RHIANNON MORGAN,                     :
                                             :
               Defendant.                    :

                    AMENDED PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, a written plea agreement was filed with this Court and signed by defendant

Heather Morgan, and her counsel, Eugene V. Gorokhov and Charles Burnham, in which the

defendant agreed to plead guilty to a Criminal Information charging, Count Two, Conspiracy To

Launder Monetary Instruments, in violation of Title 18, United States Code, Section 371, and

Count Three, Conspiracy To Defraud the United States, in violation of Title 18, United States

Code, Section 371, and the defendant has pled guilty to those offenses;

       WHEREAS, the Criminal Information alleged the forfeiture of any property, real or

personal, which constitutes or is derived from proceeds traceable to a violation of the offense

alleged in Count Two, which property is subject to forfeiture pursuant to Title 18, United States

Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c);

       WHEREAS, the Criminal Information also alleged the forfeiture of specific properties

listed in Attachment A hereto;

       WHEREAS, the Criminal Information further alleged that the United States will seek a

forfeiture money judgment against the defendant and in favor of the United States for a sum of

money equal to the value of any property, real or personal, which constitutes or is derived from

proceeds traceable to a violation of the offense alleged in Count Two, which property is subject to

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forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c);

       WHEREAS, in her plea agreement, the defendant agreed to the forfeiture of the above

property and the entry of a forfeiture money judgment in the amount of $72,618825.60 at

sentencing;

       WHEREAS, following entry of the defendant’s guilty plea and that of her co-defendant

Ilya Lichtenstein, the government has seized and recovered additional specific properties which

constitute or are derived from proceeds traceable to a violation of the offense alleged in Count

Two, and which are listed in Amended Attachment A hereto;

       WHEREAS, pursuant to Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure, this

Court determines, based upon the evidence and information before it, including the defendant’s

plea agreement, that (1) any property, real or personal, which constitutes or is derived from

proceeds traceable to a violation of the offense alleged in Count Two to which the defendant is

pleading guilty, is subject to forfeiture; and (2) the specific property identified above is subject to

forfeiture, and the Government has established the requisite nexus between the property and the

offenses; all pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c);

       WHEREAS, Title 21, United States Code, Section 853(p) authorizes the forfeiture of

substitute property;

       WHEREAS, the defendant has admitted that proceeds she personally obtained have been

dissipated by her and cannot be located upon the exercise of due diligence; have been transferred

or sold to, or deposited with, a third party; and/or have been placed beyond the jurisdiction of the



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Court; and

          WHEREAS, upon entry of a forfeiture order, Rule 32.2(b)(3) of the Federal Rules of

Criminal Procedure authorizes the Attorney General or a designee to conduct any discovery the

Court considers proper in identifying, locating, or disposing of property subject to forfeiture;

          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

          1.    That the following property is declared forfeited to the United States, pursuant to

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

2461(c): any property, real or personal, which constitutes or is derived from proceeds traceable to

a violation of the offense alleged in Count Two to which the defendant is pleading guilty. The

specific properties listed in Amended Attachment A hereto are declared forfeited to the United

States.

          3.    The Court finds that proceeds that the defendant personally obtained as a result of

the offenses to which she has pled guilty have been dissipated by her and cannot be located upon

the exercise of due diligence; have been transferred or sold to, or deposited with, a third party;

and/or have been placed beyond the jurisdiction of the Court.

          4.    The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Rule 32.2(e) of the Federal Rules of Criminal Procedure.

          5.    That pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, and

the defendant’s consent, this Order of Forfeiture is now final as to the defendant and shall be made

part of the sentence and included in the judgment.

          6.    The Attorney General or a designee, pursuant to Rule 32.2(b)(3) of the Federal

Rules of Criminal Procedure, is authorized to conduct any discovery to identify, locate, or dispose



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of property subject to this Order.

       7.      The Clerk of the Court shall forward a certified copy of this Order to

USADC.AFMLS2@usdoj.gov.


Dated this          day of ___________, 2024.




                                     THE HONORABLE COLLEEN KOLLAR-KOTELLY
                                     UNITED STATES DISTRICT JUDGE




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                           AMENDED ATTACHMENT A

        a. Approximately $2,460,375 seized from the Flagstar bank account corresponding to
           Signature Bank account number 1503814168.

        b. Approximately $352,381.55 seized from Wells Fargo bank account number
           5361262370.

        c. Approximately $228,266.02 seized from JPMorgan Chase bank account number
           877916952.

        d. Assorted U.S. and Canadian gold coins, worth between approximately $160,000
           and $300,000, which were excavated and recovered by law enforcement from
           LOCATION 1, a premises in California known to the Defendants and the
           Government.

        e. Approximately 94,643.29837084 Bitcoin (BTC) (after required fees) seized from
           wallets recovered from Defendants’ online storage account. The U.S. government’s
           seizure of the 94,643.29837084 BTC is reflected in the following cryptocurrency
           transaction hashes:

6e0d701ac2ea3ad87fc8bcaa786b994aa943f5eb9a67a1e345769bb090bf5b9e
afdfeeadb9f0a4691cbb8ace33a7c24c052b3608c4c8cc2e25afe053926b6389
77ad70fadfbbad5191c47c951469095ca845006f25fe9814f30f2853af367459
c49ff6bd054fb386cd02fc94ca34b8773229ed8a5538e023ef7bea772d70c17a
9d06994238d0de958033f42db39a6d2cc0de35e84be0ed080e41f017f02dffb3
ed1812e8310bb25fbd138aae17be738ad3fa20e0783a8598c8dea56d3be5dad7
ee56a9957f1f6166440bea01d0c0c29e4cec6230bb8231eced6ba844bb095d2a
c250725cfc9671d3849a3e85343ec5f3d045f805d002e56725c8ea2aebb9131a
b0aa2d76fd9463da6a7aff59e37d7ebf7b6aa1b660de2b2e9ab7755cf6f60ac3
b18e40d96906b7b17f337ad6250f0c5aa9db93498832125374102dd2f5e0ed47
8e5102edd876f71e3482b7602dd9141fbce3ac869fba55a757b4354c70536f34
11bae40ae4315a1e8f7d9a8df676db6bdb497b153711d1bf7952c540ed1a5966
e6088723889de70fa985e7b8c012c77ea693a6ef9379fb26a951a2bb5c722525
3fe798be890c7db8beaca9d005cd650e787b1b16bc5e47eef26bfa87124b6a95
d006075f40136ea7733aec2d6f32c31abc09f779de01a33e7e07804907d339c7
8e53ca8952fbf2d1a272ab376555a1ccee1ff0bcab0747a8c91b0ccfc77cc3fb
97e4eb7ca5d0b2b6d501a53478486d5ed75ce58d1204c6036f25b33439d48627
658a550600e814f7bf7d032b7984912857f37c96a68e4dd3eb1dce4fc774e26f
98281f388a4441d7bb00537e65b1a4581dcaddd3606fc09f6cf19598343be34d
d1dbc472abe47902aa71e639ba2feb2098b474ab20b853168ecdb0d87ce02955
61594a56cd2ef501cdb55b9037cd5785d1ad2eedfb1a4fab7ded50b1052a0650


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b7bf853fd6eb27f66963d219d29b85e13796e315473b7c08484335a0b0da7669
9af41957244e97e70378a7afd2d41b73d0a64d94c9b2df9049c29dd1919741cb

        f. Approximately 117,376.52651940 Bitcoin Cash (BCH) (after required fees) seized
           from wallets recovered from Defendants’ online storage account. The U.S.
           government’s seizure of the 117,376.52651940 BCH is reflected in the following
           cryptocurrency transaction hashes:

c29fb28633a9bee7720f7ec021c2441dc6a2289c92e887ac5214c35d49314379
0b9013f818de45ddfa9068f54f8513f15ae35bd711054d119b483a791c750684
0ae0e3c0db61a2542015164bdcead1636c614bdd5bf51b9537c5b8312db2b84a
16e1ba9b30fd5c86c9dd4ef3967105c2fbfe7ed9f510900b8acd7f7a0a9cdbd8
2544551e053688217ececb544bdc065d502db4ff4f227053fa25cc41be907541
4f24389c09897d50239d0be3ec39044160f65985cfb3fdf11d117a8fa39aaa24
6ad1a5ef2ed573b010e7ab32b395bed32142c07bf8bb67534880bbb03591215d
7278e247fc3c7bfa81732ba63c628fe30cb160ec9b7fa357a5dcff8a2f6738e3
739b58b49039856f8db1da64c713372e04c4e09f9ca32437b639b4d37aad920b
7570b746ecd24f66eb754e100f79c5259e9eecb0c7a0188e6cf5ee84f76d9b21
7cbd6e7161bbcb80865ef855128bbe1cdeb1e6b87788a99c2559046294bc898f
e308fc1199a044f613578e365313008762b8b779b3d92191e6e6ba9a6f5e2182
f8efc360fcd7d6f27b9f7e51911f361b94cb1ff2734be5e301b3cacedda9481e

        g. Approximately 117,376.58178024 in Bitcoin Satoshi Vision (BSV) (after required
           fees) seized from wallets recovered from Defendants’ online storage account. The
           U.S. government’s seizure of the 117,376.58178024 BSV is reflected in the
           following cryptocurrency transaction hashes:

2cf808c73bda45a6ee1c266c60da50f01250d9452f7b51e1caaf3ecec605b416
a0ede2c37597976de79a67db2096b3d8f7a4f60f357c09953a7342ad1948b4b5
6b46c0067f786acf4f5a1925f12b9860ad61817829f30fefd898ad0c3bbaeaf0

        h. Approximately 118,102.03258447 in Bitcoin Gold (BTG) (after required fees)
           seized from wallets recovered from Defendants’ online storage account. The U.S.
           government’s seizure of the 118,102.03258447 BTG is reflected in the following
           cryptocurrency transaction hashes:

a4ba827e99c6cef43ff590457671b63c0d52b2c215797e67c81fc168f499932c
97263227ea621461f3d22132c3e7562b0e401853fd4aced1db1b34aba1a65ab4
41ad49ad96dfd64eb0293484d4953ccbff7d70839e4c7b75db472c5553db1532
d6e8f7d9aac687cac9af801b4b38cbc8e71db2f21d41f0a6e0d8052d8087456b
c2d69e0a0090f201a29d6afb3655b7118b2282146abf64b044481ed99eb2fa27
ec3e2b93e7f7be50bb827ebfd366e2e1f4627dd8ed4550427ec793a3ea20187c

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2aa7dbb29d707fb1150c13d1ee6a0a17eeef7326116251cb5d13081fcd297ad8
70ed72a2c1e2d828f314f5bb327b0e03421bf854c4aba3ea9393258af6fba044
c656cd61fce6c3aebeb0f20818d5d092c04c379d3fc72e3ec7e4f019f71a40ec
2238af7a93f797a32ea20492fffa5e27b4d425c46ee7cb0e4fa262e2cddf3142
ec2f4d2e7c13f19657ad4559a9bfd254437989f0f45e8993a17d84c374ecb02f
5e26b7706b1c53b49d99ac1f501971b3d62c6d7e0ba6a01c9791e0d675cfb6e7

        i. Approximately 5,946,741.461183 USDC tokens (USDC), 72.80579971 Staked
           AAVE (stkAAVE), and 13.68042788 Ether (ETH) (after required fees) seized from
           wallets recovered from the Defendants’ online storage account. The U.S.
           government’s seizure of the 5,946,741.461183 USDC, 72.80579971 stkAAVE, and
           13.68042788 ETH is reflected in the following cryptocurrency transaction hashes:

0x61d691bdafa62e0b6dcbea59a9d2a706d36df06b38b1e5f5bfbc20258fdb8f62
0x8f7c636bc8c535d41dc321197c6faee791b9baf20220489cad8c63ca41320f07
0xe32bda04be91e4555ff222bd76854a41cba5d8889986426ded5b821d75148ef8

        j. Approximately 19,115.967806 USDT tokens (USDT), 1,000 USDC, and 2.075
           ETH (after required fees) seized from wallets recovered from an external hard drive
           that was recovered from the Defendants’ residence at 75 Wall Street, Apartment
           33M, New York, NY 10005. The U.S. government’s seizure of the 19,115.967806
           USDT, 1,000 USDC, and 2.075 ETH is reflected in the following cryptocurrency
           transaction hashes:

0x208589d357a9741d8c9dc52b4fe26cdb58d923c7026caefea5d18f2c32deb470
0x2924bfed103cf47743e06c8fc4e3d448aef66bd5e4c8b055c432cf97dcc66d92
0x043f8cde1f7cdae67c8da6823d7a11ce6c8910a5b281f8b33b8efb9f0bb48049

        k. Approximately 1.97187082 ETH (after required fees) seized from wallets
           recovered from Defendants’ online storage account. The U.S. government’s seizure
           of the 1.97187082 ETH is reflected in the following cryptocurrency transaction
           hash:

0xc15e937c65cfa7d920505ed76dc939567e25c43eb232bddf31c865828b02cc2c

        l. Approximately 12.2461 ETH and 0.87954 Curve DAO tokens (CRV) (after
           required fees) seized from wallets recovered from Defendant’s online storage
           account. The U.S. government’s seizure of the 12.2461 ETH and 0.87954 CRV is
           reflected in the following cryptocurrency transaction hashes:

0xc7e08c2c508c353fbf13a72ead2350ae174cacac039cb801c411a12d0823decb
0x612e5774af05cef0626f429d876a315bbdb794fac8fe361ba1d4a01cb3db86a4



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        m. Approximately        80.56402717      stkAAVE,      4,065.89171   USDC,      and
           5,364,110.70685914 Dai tokens (DAI) (after required fees) seized from wallets
           recovered from Defendants’ online storage account. The U.S. government’s seizure
           of the 80.56402717 stkAAVE, 4,065.89171 USDC, and 5,364,110.70685914 DAI
           is reflected in the following cryptocurrency transaction hashes:

0xc72aa554c07abcf7be1823b564de679f7a6a7153a753c7bbb6489712edfa1efb
0xc4ab2429935e413581a684915ec50a6def2342958e81b4e53bddfc81d94ff07f
0xc28daceb604b66f949307191d890831cc1d4580a54b99be492a992117ee601c6

        n. Approximately 2,069,017.24663 USDT and 128,337.93012591 CRV (after
           required fees) seized from wallets recovered from Defendants’ online storage
           account. The U.S. government’s seizure of the 2,069,017.24663 USDT and
           128,337.93012591 CRV is reflected in the following cryptocurrency transaction
           hashes:

0xaac3544af0a36f02ed3f9019f8ab6ec01a46cdef1c6678eb02e4de77cfc44429
0x34adc0fcf52d47e448f39c8f532a18ea7ffe2350bdde2dd3559e1b40d9cf697c

        o. Approximately 1,776,679.991662 USDC (after required fees) seized from wallets
           recovered from Defendants’ online storage account. The U.S. government’s seizure
           of the 1,776,679.991662 USDC is reflected in the following cryptocurrency
           transaction hash:

0x9e5766270527f9fbf2b74da6abace6d50990c4b29979751b05497acd24c6e78d

        p. Approximately 627,063.794652 USDC from wallets recovered from Defendants’
           online storage account and 0.779782 ETH (after required fees). The U.S.
           government’s seizure of the 627,063.794652 USDC and 0.779782 ETH is reflected
           in the following cryptocurrency transaction hashes:

0x6fd9dea95481cd84e48af90d4a2215f81b9a6832d5cf30f1ffd35fdb3b9cc46d
0x1ba8834537f2518c287f3417bc48ecb747f2a692f7ac03004ee3fd4056d7df69

        q. Approximately 1,030,436.50 aUSDT (after required fees) seized from wallets
           recovered from Defendants’ online storage account. Those wallets were also
           contained on an external hard drive that was recovered from the Defendants’
           residence at 75 Wall Street, Apartment 33M, New York, NY 10005. The U.S.
           government’s seizure of the 1,030,436.50 aUSDT is reflected in the following
           cryptocurrency transaction hashes:

0xb1d1de4f7c436159423a6ee4de34f6cf298ab26ae270c3b63519515176fbb53b
0x39eade1b7e201e24bd92a8ce0ae5673cc521adbfa29351d2cc3cd756029adfe2


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        r. Approximately 17,572,068.53 aUSDC (after required fees) seized from wallets
           recovered from Defendants’ online storage account. Those wallets were also
           contained on an external hard that was drive that was recovered from the
           Defendants’ residence at 75 Wall Street, Apartment 33M, New York, NY 10005.
           The U.S. government’s seizure of the 17,572,068.53 aUSDC is reflected in the
           following cryptocurrency transaction hashes:

0x12e74e760a5861887e8708333782832f09d4f078e23dd4d34e6c771ef628e8d8
0x65f4d5090f00d90055c133033a06f62eb5e103c1ec3ea4274ef66491af393117
0xe37147cf749215a92171d4578109c1a1323df9d47cc94ad0955e64e724fbfe44
0x912eb6c734a0c5fb23ba156d5e1990cae3d890e620f745c4c3c5dc7947777dc3

        s. Approximately 3,542,129.56 Yearn Vault USDT (yvUSDT) (after required fees)
           seized from wallets recovered from Defendants’ online storage account. Those
           wallets were also contained on an external hard drive that was recovered from the
           Defendants’ residence at 75 Wall Street, Apartment 33M, New York, NY 10005.
           The U.S. government’s seizure of the 3,542,129.56 yvUSDT is reflected in the
           following cryptocurrency transaction hashes:

0xfca09a4d2cdb169e91dd967fbd81c0db5a6b697e335de5ce6aa82efcd6557c3b
0x8ae611b2b4deeae1c2e2c7fc74d2595c912ddfe87076d450593d60c58be98b87

        t. Approximately 2,818.199 BTC (after required fees) seized from wallets recovered
           from Defendants’ online storage account. The transfer of these assets to the U.S.
           Marshals Service is reflected in the following cryptocurrency transaction hashes:

20b3673bf0d6294c46faf88204349530b694902797ce726d800ab0f342cd88d4
879a2d574abe141c4a932767ec59302520f7b7dda5c59e9230d32dd51fcbe5ee

        u. Approximately 12,267.025 BTC (after required fees) seized from wallets contained
           on an external hard drive that was recovered from the Defendants’ residence at 75
           Wall Street, Apartment 33M, New York, NY 10005. The transfer of these assets to
           the U.S. Marshals Service is reflected in the following cryptocurrency transaction
           hashes:

a0d8817455f004426e56cd502d2fc47d60ed1489363c97cd3dd1c2070f12659c
0c425db3da697bde3277852c8cea3c9bd9adc6575e593ef349c207ee3f4ab5a2

        v. Approximately 1,155.901 BTC (after required fees) seized from wallets recovered
           from Defendants’ online storage account. Those wallets were also contained on an
           external hard drive that was recovered from the Defendants’ residence at 75 Wall
           Street, Apartment 33M, New York, NY 10005. The transfer of these assets to the
           U.S. Marshals Service is reflected in the following cryptocurrency transaction
           hashes:

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a1062947908576e32d4bbd34e28e9be1a98f9057496254dcf2f99c4cb2163ea1
c5fc3a6a2411a398d72f4de18fe480810f5f9f718660659d8c3c031412faaad3

        w. Approximately 901,014 in USDC (after required fees) seized from wallets
           recovered from Defendants’ online storage account. Those wallets were also
           contained on an external hard drive that was recovered from the Defendants’
           residence at 75 Wall Street, Apartment 33M, New York, NY 10005. The transfer
           of these assets to the U.S. Marshals Service is reflected in the following
           cryptocurrency transaction hash:

0x7593212e7d1b3a886041e8185a1ac2014d512b3b824d8b8e56ceb8041d7947fa

        x. Approximately 290,729 USDT (after required fees) seized from wallets recovered
           from Defendants’ online storage account. Those wallets were also contained on an
           external hard drive that was recovered from the Defendants’ residence at 75 Wall
           Street, Apartment 33M, New York, NY 10005. The transfer of these assets to the
           U.S. Marshals Service is reflected in the following cryptocurrency transaction
           hashes:

0x989359598f029a8fe4e731e600755e917657054c4fd6d34a1fd01f0cae4bc76f
0xfedcd5240a562dc05d6f2c0eb37e600c19012516a67356bfa9d9b68b0f77c795

        y. Approximately 5,990 USDT (after required fees) seized from wallets contained on
           an external hard drive that was recovered from the Defendants’ residence at 75 Wall
           Street, Apartment 33M, New York, NY 10005. The transfer of these assets to the
           U.S. Marshals Service is reflected in the following cryptocurrency transaction hash:

0x7f50b68db4e36e8776f10489446859270ee906d471ba4fe30b61310ce5dd96e8

        z. Approximately 1000.06 in ETH (after required fees) seized from wallets recovered
           from Defendants’ online storage account. The transfer of these assets to the U.S.
           Marshals Service is reflected in the following cryptocurrency transaction hash:

0x3c8d25095a6b9986cf35c22d4d3de7b875c09f68c2a314e009a0978b4f96e37b

        aa. Approximately 7.998 BTC (after required fees) seized from wallets contained on
            an external hard drive that was recovered from the Defendants’ residence at 75 Wall
            Street, Apartment 33M, New York, NY 10005. The transfer of these assets to the
            U.S. Marshals Service is reflected in the following cryptocurrency transaction
            hashes:

196e4c6d1ef0642f50f8aeeec757442b220be84c6f06476bead5e89f0323f29e
2d39984ec84baf807259e6cc14c19549960c09757cfe8815f299abf8a8f04fcb

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        bb. Approximately 1,770.049 ETH (after required fees) seized from wallets contained
            on an external hard drive that was recovered from the Defendants’ residence at 75
            Wall Street, Apartment 33M, New York, NY 10005. The transfer of these assets to
            the U.S. Marshals Service is reflected in the following cryptocurrency transaction
            hash:

0x6417b22fb8781fab467f4e5a2c30daa6aa0c16d72375545db4f692a22b3e8b1b

        cc. Approximately 264.863 BTC (after required fees) seized from wallets contained on
            an external hard drive that was recovered from the Defendants’ residence at 75 Wall
            Street, Apartment 33M, New York, NY 10005. The transfer of these assets to the
            U.S. Marshals Service is reflected in the following cryptocurrency transaction
            hashes:

c5fc3a6a2411a398d72f4de18fe480810f5f9f718660659d8c3c031412faaad3
21e31e79897f380a989a19d9ce19ab476f97a25bed3f593cd08d64f336502a5a

        dd. Approximately 0.196 BTC (after required fees) seized from wallets contained on
            an external hard drive that was recovered from the Defendants’ residence at 75 Wall
            Street, Apartment 33M, New York, NY 10005. The transfer of these assets to the
            U.S. Marshals Service is reflected in the following cryptocurrency transaction
            hashes:

83e11d4701f6a0e0b92f4ef1fdab19cff9d0f2af604896fb29e68bca69dabca3
e8742c298cc8e91e088063286eb8ccf3a4392c298925ea2f0a5dbb31133d3ea7

        ee. Approximately 1,401.567 ETH (after required fees) seized from wallets recovered
            from Defendants’ online storage account. The transfer of these assets to the U.S.
            Marshals Service is reflected in the following cryptocurrency transaction hash:

0xea69b0ad138028d0970f00bec1e07afab4999ad1da3cfec8091706ad3713b92e

        ff. Approximately 1,767.624 ETH (after required fees) seized from wallets contained
            on an external hard drive that was recovered from the Defendants’ residence at 75
            Wall Street, Apartment 33M, New York, NY 10005. The transfer of these assets to
            the U.S. Marshals Service is reflected in the following cryptocurrency transaction
            hash:

0xe1a4a5cc9288051cf92328b7423a9a95d6f005292beb5a5d4b3a7dad295162f2

        gg. Approximately 1,066 in WETH (after required fees) seized from wallets recovered
            from Defendants’ online storage account. Those wallets were also contained in an
            external hard drive that was recovered from the Defendants’ residence at 75 Wall

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           Street, Apartment 33M, New York, NY 10005. The transfer of these assets to the
           U.S. Marshals Service is reflected in the following cryptocurrency transaction hash:

0xb0225a63e85aae99eccca0d36a3b9b71a89185960f20f057f55208ca7cfe3f36

        hh. Approximately 1,019.23 ETH (after required fees) seized from wallets recovered
            from Defendants’ online storage account. Those wallets were also contained on an
            external hard drive that was recovered from the Defendants’ residence at 75 Wall
            Street, Apartment 33M, New York, NY 10005. The U.S. government’s seizure of
            the 1,019.23 ETH is reflected in the following cryptocurrency transaction hashes:

0xc177d5d00dad1586d9de699886fc94df443c04f3ee715dcccbdc25c85be34313
0x1a45810d725bb2a045f3eaf405e76916e65afa5eaf0774395eb9d2ccce317a59
0xc7e08c2c508c353fbf13a72ead2350ae174cacac039cb801c411a12d0823decb
0x5dd80ab5ff1af11969c1699a21ed54e6ade208a8d8c733955f9e474aae23533a
0x9fd10a0bba9e0d7e05b1e96bbe6fc586967cf12edd671aed7a258b78834a9f34

        ii. Approximately 3,441.092 BTC (after required feed) seized from wallets recovered
            from Defendant’s online storage account. Those wallets were also contained on an
            external hard drive that was recovered from the Defendants’ residence at 75 Wall
            Street, Apartment 33M, New York, NY 10005. The U.S. government’s seizure of
            the 3,441.092 BTC is reflected in the following cryptocurrency transactions hashes:

d1bfe94c4893243bafdeab55d72674f8da36afb6909decff0e34f3122e0ba6ec
ab0e683b7b9ae343fa250431378d1e59c9652a2666a626c129c921860fe0e3fe
40b3523edd73fb13f9836c2d1acda58d36e31ca6a3733d1a61160fdc4d1a7dbc
5b31ae23bfc46fbc066eb2f7e4bebe218214c0703d2d6fa17eacdadf56392312
ea26b8dc219d6e22c9454c00209f8dbfe8f69abb339f769d1888d6b68dea2496
5063fb71e5d10d19dc564dd0359b1cba2edd52132ce413a48a45604908f2a853
251c470876b49e0543cf1a80975cad1e7dcb08cacac3db5c6c38a1067fa101db
b239e2ba9f715ed6fabae9d47afc8ad38f212c47210a155c648fac52be44c699
ebf2e0b20515b70c13d168ddbe77fec7d35c5497bf18dee4f18c2dcc224985fc
f0cc2e7f43a47382d9014a59dba87cc72d40fc36536ba91277a0ba9664f97627
ba80f527e648a1f0d814638440f4b54c5827a51cf14c364b504b11e7e782d2a2
40d04ca5033ba6ce681aa61a879d17773c5e24ddaa760f6493d430e547869a46
56afc5ea66ac8f9de47a59368db91477f0e099d9dd018dd25a50af7f114891fd
3ae9d68d56db74585f7496d7b848c1ea1d1ade04ac7fb5ccebafde2b0b99bbef
9b0a91099bd339e3942c88e4f2d419b56523848e93ad58393eedf8cf5773eadf
9ee5739526b0b3173b90fc5775c6d086456a9ec159f06ac0a4b1105840f9e246
5c451db3ef5df87e72a7257362121d3f74269ed86d4549b981e2f999a38637b5
334d7c7cf5d4fcfabf242599e48bdeed3d88ff7376ff822cf62b4460d5e26edd
de8de6dc7a5d9f9d4b44b8067177ade19acb9ddede9d0c1ea81ced90be8ce3d4
2511d95c9fb26b3cbf3b9a9483acf424e66d1bb9eb7337cc85dbbc43e4b089cb

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8a1df6f0520dd53a726799d1c160cbda026697df03e806161a90bfe1ae6ff20a
507b16711260cc65091bcf7d0156f156ab670d0fb37b4da5913e6ac5f86a84de
d389f800a1397a2879426ec160ebc03416b2d8abd62553bf002b7c7800047fa9
ad921e7436f2f30573eb15d5be900a9aa2bc6bfd7c9bb25fe93f79a4dd70929f
ff876b8c4c9cce225ae5981b8aa5789387cd7958986b3225069c9e495cf54c15
1cc348089e49b14e5832e625b43adae5a46a2af1f0ab9292e0edee128d50f2bb
c81a895f4d0a85bcfb0530afa703278d77ececee19aea23a2f76cc8f12387efb
ccadd615642424f72bdd037437ac143bae6caf26936324a31ad17a37c5f25b3b
95ffa24facb0a79c699aa7e92ee7a0a708337aaf978bc79519090b000361b7c2
3f0e54eebc69b805ebfa105eefa4ced1a56141d9f26dfa643531d9b33a93b2bb
65df96feecaaf158574de8ad613188e0a51e1c916ce522caed5346b77b013db2
31601ea949a83a2402849ac660b0b5fab3d23eb44a407786601e58ec4adee606
3392ca86f07e344ee4ea0c3c65ed8b1fbd725a97ee3fced4e92e5067fe913e9b
c04fab75db0df690c0387c10ffb8f386820d7f8e91acee955afa732ff2198b5f
84f0d8afc2d71bc90bdf5a1c605870149f9e9239692894ac231b03ebff8c0568
791d8cd514dcf64deec4e592f0e9956a8a6770a53a2af0d58fa470a90abb7f57
4c0b48df536b19889c924bc003f00caff0b3fe02e38b686a86ada53645b9ce49
6173b659111b237f2b73463a26303df2371246e27cb48251f82fc05dc181ddc4
14964ee20b25f12029fedbea5d2e09bc899019bb0b0ec548ff691060d2bc7020
5e84b02474079d45cdf6f19fc2900a434e144198638a046e993cb0288f45f08a
82a7ca254e1ae98c2b538d6d5405e278a28e770deec269018fdb58790e4c1bb7
7df16a0a7127ceb69a1ee27501993cff2fecd5bc9775907933e76143adcd94bb
73c8c87ca4bd736fb747da2f0462153a287cd5f67eeb6a7581ee5edd1e6463c3
5876f25dc85aa7004fd55e051c933bfdc332bb1d3bb7e2da037debc9bb366434
dcea4d12c4c5c95fb8e5bb1ab14f947d8f9a6aa4ce4bc1479cd4d6bd9a343f64
c55cf70b038c035a98f7f55dd20c19f6758312b0e767d93ac6d2a4d18eb63d46
966da434bdb3d5b04371aba0e3e371dd79086d0a17e8a934e3366c30369eba1d
b93e15869e32dc18390d85cf50e93a2ce6f039b1ae2a7fd7f3a368e2b59672e2
e6ba3575a4ea632b4591f2fe14936e94d2cdfd8953a9551f1e64e8af1c35cd1e
785a5d40d9ca3def95dd0beb962734d4b485b7aae104e237a7723bafc3e3e8ed
e7fcbddb9488270e582a73f4e2578877cce4382d3f801350f63a798f39cb8956
832446463d160545fb90715e607547ea730593448816a4d01624e323656d2c32
c2263ac1b89facfe703f952f4f93e6e321c375f46a20a20b94495055b7aa6cb2
0f9301443899133c5cc88d2ec98c978599b9a97f7c4cf3b6ebb5185e513a2b28
08b17bbba3239821298f5e4f039e9e2092e18d49f8d2f8c2760b287763894bb2
3043ed00bde4c2fe49def9106feefe0ae0f11df8e8cd5d12e01935b49559e817
04418cbdc25be7d9384e114bbef6b87de9856e6dcb6c4b2b86600619986b2326
d144a404c8f0cb4332a26203e86b57b1b3c7ef3d0d8e512659ea4b69d3c86830
b864c71884ea055ed234a02ad52ef2ce386b548e2df80636878e1faf6b839b10
b1b640c1dbd9bbe820f5e3c4d6afc28479488928c331e26c67531969491808b5
4944ae6b2c191cdb7b6b6218e2b033b4c6158fb49cbe63b9fa0c1d44631fe677
f58421c24d18e8b7dfc1d91841356221fa368811b7313c2e9b94bf41c796e2da
4a4dc715421e1bba033bafe33cbff21269d583274a8c5f4715dd120da6751741

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42d54a2de6a2b00ffdff16d2edd58ab05ff131fe46ee9e3cf52bc4cf8f8187eb
1ec385f5068b06e535603327f45e689e094c83383944e96d30192193d4fa1665
022702c1e93ec20012ae882e73f59648d5805428c684747e8554c72680a52d4a
4fdb8d8a3b25063f32ed4e2177641c2c2f880dcf627dda435743fafc39beaa00
d02636dfdf382626f02bdb12faea7a94ac7fc19392ff637d6b25b045724fdbce
39e9a301173d82599782d7d34b7b5fbb68e7e1adb83984b7ca9e5f3ce39f0af0
766fbf9d8cba9a1165112dce6fad880649cf8c88089e01eb1b5aa60295c863fd
293d737f7dbf952d4c6cf4c35d63e7d7c7e2257bcf4f7d7cce39beb36121f034
8c9809dc6fc3f5436202f9acc6c04905056f91abe33eb2d285ef0769c254ce8f
b48391571ee36e15622cf20d020a5c5262fdda226c88ed065cd66021ca927f56
c0d121b94a1bb0830a6a24954f2a85099c8f9037cffde50dfb0ef30661ea2de5
50303753bd876b0e6cead41fb9a85e34f1c1c4c11c5a171e8c8465a655ebe5fb
91832f153528833ff6019295cefa6fc370f4546126ada901112f97de7d6ea82b
a2dae4affc9ab681ac36254e3d91651e2a974e6be6ecadec4be154a8e8dbec34
5db3123391717b15fb01109b7ea0f85483013c9faa0cfc2d3afcb42d3e1d20d4
0e3824a6a73288ba65fa8587125a31c53e98fab37cb21d61404cd37eeb1ab68d
6355641540ab8981163f0ac4d0f08bbe9aedaed61db0357fa0ed8154a4d01da6
104df9c76f6586dfb6a88c1d9412c46893c23c3c815fa2ddd32bf3ca052b3ca6
981b378a641ab96b29528a9ed0f17cbb15ce3a52c0c506a99174df78a5b6612a
bfa696399d3345b4d3a5b5b8e3183482562d10aa3e1c14eb7f9264085b0bd239
4bc030231b94c54705aa6786b2b4ce47acf41b16f953101565bb7bb314f1c91e
f00f2684f37979e2d0e64a2b758d952124ebafe452343d93972500a9cb79987f
f47ba0062ec3cab9f2ad4715a558a575ca9bb5b5f791a6507f5a1fbeb8ec5a66
01ce909c6a61ebb682756bfb140690ef22b5c1fc6b6827aa423bb2af443c7fd2
73037cdc4051cad8347a1977d42821b7170ce210b311786c708d82c1c2d1514c
85498282c27ff117ed69067111b7ea303c9d2a3655faf9795b919872f17b46cd
51a3fd6e8cbd992c15b1197141933bb4e5bfc837c368d07edeb426eb2c6507d4
6a0187dc7470eb63ab7bb0afcea25e48f6bae8c6734fb056251d7a36a2d88c7b
1f1716abed9c616e538097cad579d1958a8b399aaecc686c4ab622df5f9be07c
a4c3ea141a28ea0f1dac7c6f023304f80d6eadd4762a6eccc8bb33268029aaae
90572eff4e00423fc85c49be940ad74614cfe41f472d183d375d4f39622bfa81
f92c166d8db3318e051027c1ea9bc4bba672dc4eb012b9d721ca42e209eb4843
23afc408a3af799b15c0cc86572163353e924163a96d211b5692ab7bfd02f635
7dd54a14d831e3aa771e9812f60a8561a3bebfa2d64f31f19f46c3277fed287a
523cf07d635e4b5764639764cc69285fe106e74401376f3d2592f9a6ed5b3e28
14da94ad3cb06dffc15a7511c5df79e8eafeeec996fc55e15b3bf4986f675f9d
4c8d251b05fc463a6e08dece4215e67398e52b6345b4bffe144aeb139fb5c14a
5684c447de8162420d7beeffc548fdbb45d950ead984afdee7fd52fad6d1bfd3
4501eef0dabb06062281aeb5d6ddf1dde6efce3f0ab30b6fca5d4f7407415bce
c765a4090c5757b1de61798dd798a787e937dafec6be9ba2eb4a9b589aa0cbbd
4ec5dc0986a652696ec700c94ad814a427ddc16216d8ee418351a60456d501b6
835d21780342969210c0bffb9452f8670416d9f5ad2b3e48e1e020ba4e6780d6
fb2d89401b3ee9f663add16c27783c36b154bc3a02600ef59d415b188b34b1a4

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d289c011ba7c7de0a211e59ceeeae1a914385fe0e9ecd6a3ef966421aaab7171
00d077c214cedd26a88f38c7b15bb16e8d019bf70aa993152c8b7ddce8eb3944
8954cba05d12e2fdefe9be80e3d57ee4501f62aed9d826f7ca5c5e415bf9505a
4b3fa68414e7d4b094d935d94a365382a26429b6f4144d41f4b17f38e35ad9dc
a04a66468b78c9a05eb041f6764c8e20ddade583f247154acc2df1f00e6c334d
3e59e3d79db051544facebade7875a68aaa934010fd18bcae73d17c39d65ca8d
1a908fedfccf83c466e66165097f7c44c4323096d723926f54a785fdcae1f3c7
ad73d215638f0e5e12b7892d4559cab3485589dc4c80991074652db5a4e7908a
59b55a8e5dfc8c0436a4481cffbeb96be1c6801c5b27b0fc554f1cc9c962b08e
61230fb4cb5926edee8dc1f91b307f1b878b5d51ecff813fe380cea6e1d65db4
15b6e300c4a2e7ad58a826690b75f06978a4ba9b303f3743c67ff2eb50a5fe54




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